Case: 1:19-cv-07486 Document #: 83 Filed: 11/30/21 Page 1 of 3 PagelD #:397

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ARKITA COURTNEY, as Guardian of the Estate
of ZECHARIAH COURTNEY, a minor,

Plaintiffs,
NO: — 1:19-cv-7486

Vv.

eee ee

UNITED STATES OF AMERICA, by and through )
its agents and employees, and ADVOCATE )
HEALTH AND HOSPITALS CORPORATION, an)
Illinois Corporation, by and through its authorized _)
agents and employees, )

Defendants.
PLAINTIFF’S MOTON TO SPREAD DEATH OF RECORD

Plaintiff, ARKITA COURTNEY, as Guardian of the Estate of ZECHARIAH
COURTNEY, a minor, by and through their attorneys, McNABOLA & ASSOCIATES, LLC, and
moves this Honorable Court for the entry of an Order spreading the death of record, and in support
thereof, states as follows:

1. This cause stems from allegations of a failure to promptly perform an emergency
delivery resulting in a permanent brain injury to ZECHARIAH COURTNEY, a minor.

a On November 13, 2019 Plaintiff filed her Complaint alleging medical negligence
against United State of America and Advocate Health and Hospitals Corporation.

3. On October 11, 2021, Zechariah Courtney, a minor, died secondary to his injuries

resulting from the alleged negligence in this case.

4, Attached hereto as Exhibit A is a copy of the death certificate for Zechariah

Courtney, a minor.
Case: 1:19-cv-07486 Document #: 83 Filed: 11/30/21 Page 2 of 3 PagelD #:398

5 Plaintiff is in the process of opening a decedent’s estate for Zechariah Courtney, a
minor, and will seek leave to amend the Complaint at Law following the appointment of the
Executor of the Estate of Zechariah Courtney, a minor.

WHEREFORE, Plaintiff, ARKITA COURTNEY, as Guardian of the Estate of
ZECHARIAH COURTNEY, a minor, respectfully requests this Honorable Court enter an Order
spreading the death of record of Zechariah Courtney, a minor, or for whatever other relief this

Court deems just under the circumstances.
Respectfully submitted,

/s/ Edward W. McNabola

 

Attorney for Plaintiffs

Edward W. McNabola, Esq., #6211511
Thomas R. Trench, Esq., #6324766
McNABOLA & ASSOCIATES, LLC
161 North Clark Street, Suite 2550
Chicago, Illinois 60601

(312) 888-7000

ted@injuryillinois.com
 

Page 3 of 3 page D #: 399

cook COUNTY CLERK VITAL RECORDS

   
 
  

  
  

 

   
 

 

 

 

 
 
 
 

 

 

CHICAGO, ILLINOIS
MEDICAL CERTIFICATE OF DEATH
DATE ISSUED — vaw2021
atx “Toate oF peat
| AGE AT LAST BIRTHDAY DATE OF tTH =A . —
4 YEARS AUGUST 25, 2017
HOSPITAL OF OTHER INSTITUTION AME

 

 

 

ADVOCATE LUTHERAN GENERAL HOSPITAL

 

 
 

 

SOCIAL SECURITY NUMBER | BTATUS AT TIME OF DEATH

  

 

 

 

 

 
  
 
 

 

 

 

 

 

 

  
  

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APT. WO CITY OF TOWN INSIDE CITY LIMITS?
: { A CHICAGO YES
DP COOE FATHURICO-PARENTS MANE PPNOM fo FIRST MAAIAGEIGIVL, UNION

: , VOTRE PARENT HAL PREGA 10 FRET UARMIRLR
60617 MARK WILLIAMS ARKITA COURTNEY i EN

 

 

 

 

 

  
  

 

 

 
  
  

 

RELATIONSHIP MAILING ADDHESS
MOTHER 8710 S BURLEY, CHICAGO, IL, 80617
PLACE OF DISPOSITION LOCATION - CITY OR TOWN AND STATE | GATE OF DISPOa Tine
HEIGHTS CREMATORY CHICAGO HEIGHTS, IL OCTOBER 29, 2021

 

 

 

   

 

FUNERAL DIRECTOR'S (LUNOIS LICENSE NUDSER
034012094

 
 

 

  
 

DATE FILED WITH LOCAL REGISTAAR
NOVEMBER 19, 2024

 

 

   
      
 

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& SHOCK FOLLOWING ACUTE CARDIAC ARREST

 

 

  
  
    
 
 
 
   
 
 
 

Due to (or #9 a consequence of)
© ENCEPHALOPATHY (CEREBRAL PALSY)

 

 

 

Dua 10 (of al 8 compaquence off
Fakonanes significent conditions contributing fo death byl not resulting in the underlying cause given in PART 1. WAS AN AUTOPSY PERFORMED? YES
_ OBSTRUCTIVE SLEEP APNEA AND EPILEPSY - NON-TRAUMATIC

 

 

WERE AUTOPSY FINDINGS USED TO
COMPLETE CAUSE OF DEATH? YES

MANNER OF DEATH
NATURAL
TIME GF INJURY PLACE OF INJURY (HJURY AT WORK?

 

 

 

 

 

 

 

 

iF TRANSPORTATION INJURY, SPECHT Y

 

     
   

 

 

 

 

 

 

 

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ATTEND THE DECEASED? «—s| DATE LAST SEEN ALIVE WAS MEDICAL EXAMINER OR DATE PRONOUNCED TIME OF DEATH
] NO f UNKNOWN CORONER CONTACTED? YES 10:52 PM
(CERTIFIE sE-ia pt f OATE CERTIFIED
PHYSICIAN OCTOBER 21, 2021
‘NAME ALORESS AND PIP CODE OF PERSON COMPLETING CAUISE OF DEATH PHYSICAN'S LICENSE NUMBER
DR. JENNIFER BERO-ALFERI, 123 GRIDGE STREET, MAYVILLE, WISCONSIN, 5305) 036-126742

 

  
  

 

1884927

   

This is to certify that this Is a true and correct copy from the official death
record filed with is lilinois Department of Public Health

PRL 4. ————
Z Mf

Karen A. Yarbrough
Gook County Clark

     
 
     

 
